                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

         v.                                          Case No. 20-00318-01-CR-W-BP

 ROLAND G. JORDAN,


                               Defendant.

                                  ENTRY OF APPEARANCE

       Comes now the United States of America, by and through its undersigned attorney,

Patrick C. Edwards, Assistant United States Attorney, and enters his appearance as attorney of

record for the United States of America in the above-reference case.

       Effective this date, the following attorney is no longer associated with this case and

should not receive any further Notices of Electronic Filings relating to activity in this case:

       Jessica L. Ward.

                                                      Respectfully submitted,

                                                      Teresa A. Moore
                                                      Acting United States Attorney

                                               By     /s/Patrick C. Edwards

                                                      Patrick C. Edwards
                                                      Assistant United States Attorney

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              Case 4:20-cr-00318-BP Document 4 Filed 06/11/21 Page 1 of 2
                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on June 11,
2021, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                            /s/Patrick C. Edwards
                                            Patrick C. Edwards
                                            Assistant United States Attorney




                                               2

           Case 4:20-cr-00318-BP Document 4 Filed 06/11/21 Page 2 of 2
